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                          CLAIR & GJERTSEN
                                         ATTORNEYS AT LAW


                              4 NEW KING STREET, SUITE 140
                              WHITE PLAINS, NEW YORK 10604
                                       914 472 6202
                                      FAX 472 1936
                                    EMAIL: CLAIRGJERTSEN@CS.COM


                                                      April 25, 2019

Honorable Robert D. Drain
United States Bankruptcy Court
Southern District of New York
300 Quarropas Street
White Plains, New York 10601

       Re:     Donna M. Schifano
               Case No. 18-23609 (rdd)

Dear Honorable Sir:

This letter is to serve as a status report regarding Loss Mitigation in the above-referenced matter.

Debtor’s Counsel was informed by Creditor’s Counsel that the Creditor requires for its review
Debtor’s Supplemental Security Income award letter, 30 days consecutive paystubs for the
Debtor and all contributors, 60 days of bank statements indicating contributors’ portions and SSI,
and 60 days of bank statements for the Debtor. Debtor’s Counsel contacted the Debtor regarding
the provision of the above-listed documents, but due to a family tragedy, the Debtor was unable
to provide the requested documentation in a timely fashion, and Debtor’s Counsel received a
denial of the Debtor’s application thereafter. Currently, Debtor’s Counsel is preparing an updated
application package including the previously-requested documentation.

If you have any questions or concerns please do not hesitate to contact the undersigned. Thank
you for your kind attention hereto.



                                                      Respectfully,

                                                      s/ Dylan Grey Rupp

                                                      Dylan Grey Rupp
